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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RENATO ZAFRA,                                      Case No. 22-cv-03535-SI
                                   8                     Plaintiff,
                                                                                            ORDER TO SHOW CAUSE
                                   9              v.

                                  10     EAST BAY MUNICIPAL UTILITY
                                         DISTRICT, et al.,
                                  11
                                                         Defendants.
                                  12
Northern District of California
 United States District Court




                                  13           On June 15, 2022, defendants removed this case from state court to this Court. On June 17,

                                  14   defendants filed a motion to dismiss the complaint. On June 30, 2022, the case was reassigned to

                                  15   the undersigned judge, and the motion was re-noticed for a hearing on August 26, 2022.

                                  16           Plaintiff’s opposition was due July 1, 2022. See Dkt. No. 5. Plaintiff did not file an

                                  17   opposition, and plaintiff’s counsel has not responded to an inquiry from the Court’s clerk regarding

                                  18   the status of this case.

                                  19           Accordingly, plaintiff is hereby ORDERED TO SHOW CAUSE in writing no later

                                  20   than July 12, 2022, why this case should not be dismissed without prejudice for failure to

                                  21   prosecute. See Fed. R. Civ. Proc. 41(b). If plaintiff wishes to pursue this case, the Court will set a

                                  22   new schedule for the filing of the opposition and reply briefs.

                                  23

                                  24           IT IS SO ORDERED.

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                                  26   Dated: July 7, 2022                           ______________________________________
                                                                                       SUSAN ILLSTON
                                  27                                                   United States District Judge
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